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UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT

 ADSCEND MEDIA LLC,                                                                                                         CASE NO. : 3:18-CV-00141-MPS




                                                    vs                                                         Plaintiff
 DOGOOD MEDIA LLC, ET AL.,




                                                                                                           Defendant

                                                                        AFFIDAVIT OF SERVICE



State of Connecticut }
County of Hartford } ss.:

The undersigned, being duly sworn, deposes and says;

Deponent is not a party herein, is over 18 years of age and resides in the state of Connecticut

That on 01/31/2018 at 2:25 PM at 40 Richards Avenue, 3rd Floor, Norwalk, CT 06864

deponent served a(n) Summons in a Civil Case, Complaint Jury Trial Demanded, Civil Cover Sheet, Amended Complaint Jury Trial
Demanded, Order on Pretrial Deadlines, Electronic Filing Order in Civil Cases, Standing Protective Order, Notice to Counsel
and Pro Se Parties

on Eric Farrell

by delivering thereat a true copy of each to Jerome Shimizu [CEO/Co-Worker], a person of suitable age and discretion who stated he
can accept service. Said premises is defendant's actual place of business but he is not here often.

Within 20 days of such delivery, deponent mailed a copy of same by first class mail in a postpaid envelope properly addressed to
defendant at defendant's actual place of business at 40 Richards Avenue, 3rd Floor, Norwalk, CT 06854. The envelope bore the legend
"Personal and Confidential" and did not indicate on the outside thereof, by return address or otherwise, that the communication was from
an attorney or concerned an action against the defendant.

Mailed Copy on 02/01/2018 c/o DoGood Media LLC


Description of Person Served
Gender: Male
Skin: Asian
Hair: Black
Age: 36 - 50 Yrs.
Height: 5' 9" - 6' 0"
Weight:161-200 Lbs.
Other:




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 Sworn to before me this          j    '
 day of February, 2018



                                                                                                                        .a
              NOTARY PUBLIC                                                                                         Eric Rubin

                    /fv ?   s A

   AMY J,                         MTRY
         NOTAB.*            '•    4-'r)    w   Serving By Irving, Inc | 233 Broadway, Suite 2201 | New York, NY 10279
MY COMMISSION EXPIRES^ (20$                      New York City Dept of Consumer Affairs License No. 0761 1 60
